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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                              -   -    -    X


UNITED STATES OF AMERICA

         - v. -                                                    INDICTMENT

TREVOR THOMAS BICKFORD ,                                           23 Cr .

                      Defendant .

                                         -    -   -    -    X
                                                                                      091
                                COUNT ONE
         (Attempted Murder of Officers and Employees of the U.S.
                               Government)

         The Grand Jury charges :

         1.    From at    least     in       or       about     November     2022 ,   up   to   and

including on or about December 31 , 2022 , in the Southern District

of New York and elsewhere , TREVOR THOMAS BICKFORD , the defendant ,

knowingly       and   intentionally               attempted        to   kill     officers       and

employees of the United States while such officers and employees

were engaged in and on account of the performance of their official

duties ,      and persons assisting such officers and employees in the

performance of such duties and on account of that assistance , which

killing       is murder as   defined in Title                    18 ,   United States       Code ,

Section llll(a) , to wit , BICKFORD , an adherent of violent Islamic

extremism , devoted himself to the mission of waging jihad against

the U. S . Government , and to execute that jihadist mission , BICKFORD

traveled from Maine to New York City and , on or about December 31 ,

2022 ,    he brought a machete - style                     knife to the area of the New
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Year ' s Eve festivities around Times Square in Manhattan , New York ,

for   the purpose of using that                knife       to        kill military-aged men

working for the U. S . Government .

                  (Title 18 , United States Code , Section 1114 . )

                             COUNT TWO
       (Attempted Murder of Officers and Employees of the U.S .
         Government and Persons Assisting Them - Officer - 1)

       The Grand Jury further charges :

       2.     On or about December 31 , 2022 , in the Southern District

of New York and elsewhere , TREVOR THOMAS BICKFORD , the defendant ,

knowingly         and    intentionally     attempted            to     kill    an    officer      and

employee of the United States while such officer and employee was

engaged      in    and    on   account   of    the       performance          of     his   official

duties ,    and a person assisting such officer and employee in the

performance of such duties and on account of that assistance , which

killing is murder as                defined in Title            18 ,       United States Code ,

Section llll(a) , to wit , BICKFORD sought to wage jihad by killing

mi litary- aged men work i ng for the U. S . Government , and in carrying

out   that        mission ,    he    attempted       to    ki ll       a     uniformed      officer

( "Off icer - 1 " )     from the New York City Police Department                           ( " NYPD " )

who was on duty working as part of a joint operation between the

NYPD and the Federal Bureau of Investigation                                (" FBI " ) to provide

protection         to    civilians    during       the    New    Year ' s      Eve    festivities

around Times Square in Manhattan , New York .

                  (Title 18 , United States Code , Section 1114 . )

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                               COUNT THREE
         (Attempted Murder of Officers and Employees of the U.S.
           Government and Persons Assisting Them - Officer-2)

         The Grand Jury further charges :

         3.    On or about December 31 , 2022 , in the Southern District

of New York and elsewhere , TREVOR THOMAS BICKFORD , the defendant ,

knowingly          and    intentionally     attempted     to     kill   an   officer    and

employee of the United States while such officer and employee was

engaged       in    and    on    account   of   the   performance       of   his   official

duties ,      and a person assisting such officer and employee in the

performance of such duties and on account of that assistance , which

killing is murder as               defined in Title       18 ,    United States Code ,

Section llll(a) , to wit , BICKFORD sought to wage jihad by killing

military - aged men working for the U. S. Government , and in carrying

out that mission ,              he attempted to kill a           second uniformed NYPD

officer ("Officer - 2") who was on duty working as part of the joint

FBI - NYPD operation to provide protection to civilians during the

New Year ' s Eve festivities around Times Square in Manhattan , New

York .

                   (Title 18 , United States Code , Section 1114 . )

                               COUNT FOUR
         (Attempted Murder of Officers and Employees of the U.S.
           Government and Persons Assisting Them - Officer-3)

         The Grand Jury further charges :

         4.    On or about December 31 , 2022 , in the Southern District

of New York and elsewhere , TREVOR THOMAS BICKFORD , the defendant ,

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knowingly           and    intentionally        attempted       to     kill   an     officer    and

employee of the United States while such officer and employee was

engaged        in    and    on    account   of    the    performance          of   his    official

duties ,       and a person assisting such officer and employee in the

performance of such duties and on account of that assistance , which

killing        is murder as         defined in Title            18 ,    United States Code ,

Section llll(a) , to wit , BICKFORD sought to wage jihad by killing

military - aged men working for the U. S. Government , and in carrying

out    that mission ,            he attempted to         kill    a     third uniformed NYPD

officer (" Officer - 3 " ) who was on duty working as part of the joint

FBI - NYPD operation to provide protection to civilians during the

New Year ' s Eve festivities around Times Square in Manhattan , New

York .

                 (Title 18 , United States Code , Section 1114 . )

                              COUNT FIVE
     (Assault of Officers and Employees of the U.S. Government and
                  Persons Assisting Them   Officer-1)

         The Grand Jury further charges :

         5.      On or about December 31 , 2022 , in the Southern District

of New York and elsewhere , TREVOR THOMAS BICKFORD , the defendant ,

knowingly           and     intentionally ,           forcibly         assaulted ,       resisted ,

opposed , impeded , intimidated , and interfered with , and attempted

to    forcibly        assault ,      resist ,     oppose ,      impede ,      intimidate ,      and

interfere with ,            a person designated in Title 18 ,                      United States

Code ,        Section      1114    while    engaged       in     or      on   account      of   the

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performance of official duties , to wit , an officer and employee of

the United States while such officer and employee was engaged in

and on account of the performance of his official duties ,                         and a

person assisting such officer and employee in the performance of

such      duties   and    on     account     of    that   assistance ,     and   in    the

commission of         said offense ,       used a     deadly or      dangerous   weapon

( including a weapon intended to cause death or danger but that

failed to do so by reason of a defective component) and inflicted

bodily injury ,       to wit ,    BICKFORD sought t o wage jihad by killing

military - aged men working for the U.S . Government , and in carrying

out that mission ,         he used a machete - style           knife     to attack and

injure Officer-1 ,        who was on duty working as part of the joint

FBI - NYPD operation to provide protection to civilians during the

New Year ' s Eve festivities around Times Square in Manhattan , New

York .

         (Title 18 , United States Code , Sections 111 (a) (1) ,             (b) . )

                               COUNT SIX
     (Assault of Officers and Employees of the U . S. Government and
                  Persons Assisting Them   Officer-2)

         The Grand Jury further charges :

         6.   On or about December 31 , 2022 , in the Southern District

of New York and elsewhere , TREVOR THOMAS BI CKFORD , t h e defendant ,

knowingly       and      intentionally ,          forcibly   assaulted ,     resisted ,

opposed , impeded , intimidated , and interfered with , and attempted

to     forcibly    assault ,      resist ,    oppose ,    impede ,   intimidate ,      and

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interfere wit h ,         a person designated in Title 18 ,                  United States

Code ,        Section   1114    while     engaged        in   or     on    account     of    the

performance of off i cial duties , to wit , an officer and employee of

the United States , while such officer and employee was engaged in

and on account of the performance of his official duties ,                               and a

person assisting such officer and employee in the performance of

such      duties    and    on      account    of    that      assistance ,       and   in    the

commission of           said offense ,       used    a   deadly or dangerous            weapon

( including a weapon intended to cause death or danger but that

failed to do so by reason of a defective component) and inflicted

bodily injury ,         to wit ,    BICKFORD sought to wage jihad by killing

military - aged men working for the U. S . Government , and in carrying

out that mission , he used a machete to attack and injure Officer -

2 , who was on duty working as part of the joint FBI - NYPD operation

to    provide      protection       to   civilians       during      the   New    Year ' s   Eve

festivities around Times Square in Manhattan , New York .

         (Title 18 , United States Code , Sect i ons 111 (a) (1) ,                 (b) . )

                              COUNT SEVEN
     (Assault of Officers and Employees of the U.S. Government and
                  Persons Assisting Them   Officer-3)

         The Grand Jury further charges :

         7.      On or about December 31 , 2022 , in the Southern District

of New York and elsewhere , TREVOR THOMAS BICKFORD , the defendant ,

knowingly         and     intentionally ,          forcibly        assaulted ,       resisted ,

opposed , impeded , intimidated , and interfered with , and attempted

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to   forcibly       assault ,       resist ,     oppose ,    impede ,   intimidate ,      and

interfere with ,          a person designated in Title 18 ,                 United States

Code ,        Section    1114   while     engaged       in   or   on    account     of    the

per f ormance of official duties , to wit , an officer and employee of

the United States , while such officer and employee was engaged in

and on account of the performance of his official duties ,                            and a

person assisting such officer and employee in the performance of

such      duties    and    on      account      of   that    assistance ,     and   in    the

commission of           said offense ,         used a   deadly or dangerous          weapon

( including a weapon intended to cause death or danger but that

failed to do so by reason of a defective component ) and inflicted

bodily injury ,         to wit ,    BICKFORD sought to wage jihad by killing

military - aged men working for the U. S . Government , and in carrying

out that mission , he used a machete to attack and injure Officer -

3 , who was on duty working as part of the joint FBI - NYPD operation

to   provide       protection       to   civilians      during    the   New    Year ' s   Eve

festivities around Times Square in Manhattan , New York.

         (Title 18 , United States Code , Sections 111 (a) (1) ,                (b) . )

                                FORFEITURE ALLEGATION

         8.      As a result of committing the Federal crimes of terrorism

alleged in Counts           One     through      Four of this       Indictment ,     TREVOR

THOMAS BICKFORD , the defendant , shall forfeit to the United States ,

pursuant to Title 18 , United States Code , Section 981 (a) (1) (G) and

Title 28 , United States Code , Section 246l(c) , any and all assets ,

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foreign and domestic , of the defendant ; any and all assets , foreign

and domestic , affording the defendant a source of influence over

any entity or organization engaged in plann i ng or perpetrating

said offenses ; any and all assets , foreign and domestic , acquired

or maintained with the intent and for the purpose of supporting ,

planning , conducting , or concealing said offenses ; and any and all

assets ,    foreign and domestic , derived from , involved in , or used

or intended to be used to commit said offenses , including but not

limited to a sum of money in United States currency representing

the total amount of the defendant ' s assets .

                         Substitute Assets Provision

      9.       If any of the above - described forfeitable property , as

a result of any act or omission of the defendant :


                    a.    cannot be located upon       the   exercise      of due
                          diligence ;

                    b.    has been transferred or sold to , or deposited
                          with , a third person ;

                    c.    has been placed beyond the jurisdiction of the
                          Court ;

                    d.    has been substantially diminished in value ; or

                    e.    has been commingled with other property which
                          cannot be subdivided without difficulty ,




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it is the intent of the United States , pursuant to Title 21 , United

States   Code ,   Section   853 (p)   and Title   28 ,   United States   Code ,

Section 2461(c) , to seek forfeiture of any other property of the

defendant up to the value of the above forfeitable property .

              (Title 18 , United States Code , Section 981 ;
            Title 21 , United States Code , Section 853 ; and
             Title 28 , United States Code , Section 2461 . )




                                            ~~Id?~~
                                            oMIANWILLrAMS
                                            United States Attorney




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             UNITED STATES
             SOUTHERN DISTR DISTRICT COURT
                           ICT OF NEW YORK


                UNITED STATES OF AME RICA

                           -   v.   -

                 TREVOR THOMAS BICKFORD ,

                        Defendant .




                         INDICTMENT

                           23 Cr .

              (18 u . s . c . §§ 111 and 1114 . )



                    . DAMIAN WILLIAMS
                  United States Attorney




                         Foreperson

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